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                                   United States Bankruptcy Court
                                    MIDDLE DISTRICT OF TENNESSEE
                                               Case No. 3:20−bk−03559
                                                     Chapter 13

    In re:
       JAMES WHITFIELD LIVINGSTON
       PO BOX 91047
       Nashville, TN 37209
    Social Security No.:
      xxx−xx−2895
    Employer's Tax I.D. No.:



                       Order Approving Payment of Filing Fees in Installments

    The debtor has filed an application and affidavit stating the terms for paying the filing fees in this case in
    installments.


    IT IS ORDERED that the debtor shall pay the filing fee in the amount of $ 310.00 by cash, money order or
    cashiers check made payable to the Clerk of the US Bankruptcy Court, 701 Broadway, Suite 170, Nashville,
    TN 37203 within 120 days of the original filing of the petition

    IT IS FURTHER ORDERED that until the filing fee is paid in full the debtor(s) shall not make any additional
    payment or transfer any additional property to an attorney or any other person for services in connection with
    this case.

                                                              BY THE COURT

    Dated: 7/30/20                                            /s/ Marian F Harrison
                                                              United States Bankruptcy Judge




     Case 3:20-bk-03559           Doc 8 Filed 07/30/20 Entered 07/30/20 08:03:50                       Desc Order
                                    Granting Installment Pay Page 1 of 1
